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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA            )
                                    )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )  Case No. 23-cr-00061-MN
                                    )
ROBERT HUNTER BIDEN                 )
                                    )
                                    )
                  Defendant.        )
____________________________________)

MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF AND PROPOSED AMICUS
   CURIAE BRIEF OF THE HERITAGE FOUNDATION AND MIKE HOWELL

        The Heritage Foundation and Mike Howell hereby move, pursuant to the inherent authority

of the Court to accept Amicus Curiae briefs, to file an Amicus Curiae Brief. The proposed Amicus

Curiae Brief is attached as Exhibit C.

   I.        Standard for Permissive Amicus Briefing in District Courts

        1.      Amici are unaware of any rule governing Amicus briefing in the United States

District Courts. Federal Rule of Appellate Procedure (“Fed.R.App.P.”) 29 provides guidance and

permits filing of a brief by leave of court. A motion for leave to file pursuant to Rule 29 must state

1.) the movant’s interest; and 2.) the reasons why an amicus brief is desirable and why the matters

asserted are relevant to the disposition of the case. Fed.R.App.P. 29(a)(3).

        2.      District courts possess the inherent authority to accept or deny Amicus briefing. In

re Nazi Era Cases Against German Defendants’ Litig., 153 Fed. App’x. 819, 827 (3rd Cir. 2005

(per curiam). In the Third Circuit, Amici have been accepted in the District Courts in both civil and

criminal proceedings. See In re Nazi Era Cases Against German Defendants’ Litig., 153 Fed.
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App/x 819 (3rd Cir. 2005); Getty Oil Co. v. Dep’t of Energy, 117 F.R.D. 540 (D. Del. 1987); In

re: Energy Future Holdings Corp, No. 15-cv-1183-RGA, 2016 WL 5402186 (D. Del. Sept. 26,

2016); Glen v. Trip Advisor LLC, 529 F.Supp.3d 316 (2021); US v. Alkaabi, 223 F.Supp.2d 583

(D.N.J. 2002).

         3.      “Courts will exercise their discretion to allow an amicus curiae brief to be filed if

Rule 29 of the [Fed.R.App.P.] is satisfied by demonstrating, under the most lenient standard, that

(1) the movant has an adequate interest in the appeal; (2) the information supplied is desirable; and

(3) the information being provided is relevant. Courts will deny leave in instances where the

arguments and facts in the brief are patently partisan, are untimely, and where the litigant is

competently and adequately represented. The Third Circuit has advised that motions for leave to

file such briefs should be granted ‘unless it is obvious that the proposed briefs do not meet [Federal

Rule of Civil Procedure] 29’s criteria as broadly interpreted.’” (citation omitted). In re Weinstein

Company Holdings LLC, Civ. No. 19-242-MN, Civ. No. 19-243, 2020 WL 1320821 at *1 n.3 (D.

Del. Mar. 30, 2020).

   II.        The Heritage Foundation and Mike Howell Have an Adequate Interest and
              Provide Desirable and Relevant Information to the Court

         4.      The Heritage Foundation is a Washington, D.C.-based nonpartisan public policy

organization with a national and international reputation whose mission is to “formulate and

promote public policies based on the principles of free enterprise, limited government, individual

freedom, traditional American values, and a strong national defense.” Heritage Foundation, About

Heritage, found at https://www.heritage.org/about-heritage/mission (last visited July 19, 2023).

         5.      Mike Howell leads the Heritage Foundation’s Oversight Project and is an author

for The Daily Signal. The Oversight Project is an initiative aimed at obtaining information via

Freedom of Information Act requests and other means in order to best inform the public and
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Congress for the purposes of Congressional oversight. The requests and analyses of

information are informed by Heritage’s deep policy expertise. By function, the Oversight

Project is primarily engaged in disseminating information to the public.

         6.    In the accompanying proposed Amicus brief, the Heritage Foundation and Mike

Howell offer information that has not, and likely will not, be presented to the Court by either the

Government or the Defendant. The proposed Brief presents the widely reported facts of the Robert

Hunter Biden investigation, lays out a detailed historiography of the Congressional investigations

into the Hunter Biden investigation, including the conflicts between the public statements and

testimony of Attorney General Merrick Garland, U.S. Attorney for the District of Delaware David

C. Weiss, and the IRS Whistleblowers Gary Shapley and Jeff Zeigler, and provides information

that the Heritage Foundation and Mike Howell are aware of as a result of their FOIA litigation

with the United States Department of Justice. Amici submit that this combination of publicly

available information, provided in a unique well-crafted summary could be of great use to the

Court.

         7.    Amici suggest that the proposed Brief is of greater relevance to this proceeding

because neither the Government nor the Defendant have an interest in disclosure. The Defendant’s

reticence to disclosure is intuitive; the costs far outweigh the benefits of revealing that the

Defendant may benefit from partiality from the Government. The Government’s obstinance is less

understandable. The proposed Amicus Brief addresses, in detail, the stonewalling not only of the

Amici but of the United States Congress. The Brief addresses that in the course of FOIA litigation

in another jurisdiction that the Department of Justice disclosed that there were more than 2500

pages of potentially responsive documents concerning communications between the District of

Delaware and the Department of Justice in Washington D.C. The lack of transparency raises very
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real questions that would not otherwise arise. As such, Amici ask the Court to consider this

stonewalling and breadth of available documents in its review of the plea agreement and determine

if a delay of the proceeding until more information as to the who, what, where, when, and how of

the investigation is disclosed.

        8.     Information related to this investigation has been changing on a daily basis. Amici

wanted the Court to have the most up-to-date information and given the posture of the FOIA

litigation in the U.S. District Court for the District of Columbia and Congressional hearing

landscape, it was not practicable to submit the proposed Brief any earlier.

        9.     The undersigned hereby certifies that she conferred with counsel for the Defendant

and for the Government to obtain their position on the relief requested in this Motion. Counsel for

the Defendant opposes this Motion and such opposition is attached as Exhibit A to this Motion;

counsel for the Government consented to this Motion and such consent is attached as Exhibit B. 1

        WHEREFORE, proposed Amici Curiae The Heritage Foundation and Mike Howell

respectfully move for entry of an Order accepting the accompanying Amicus Curiae Brief in this

case.




1
  The Government consented to this Motion provided the Motion and accompanying brief were
filed by the “close of business” July 24, 2023. Unfortunately, it simply was not possible to meet
that deadline.
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Dated: July 25, 2023                     Respectfully submitted,

                                         LAW OFFICES OF
                                         MURRAY, PHILLIPS & GAY

                                         /s/ Julianne E. Murray
                                         Julianne E. Murray
                                         Bar ID 5649
                                         215 E. Market Street
                                         Georgetown, DE 19947
                                         Tel: (302) 855-9300
                                         julie@murrayphillipslaw.com
                                         Counsel for Amici The Heritage Foundation
                                         and Mike Howell
           Case 1:23-cr-00061-MN Document 13-1 Filed 07/25/23 Page 6 of 8 PageID #: 21


Julie Murray

From:              Christopher Clark <clark@csvllp.com>
Sent:              Monday, July 24, 2023 9:54 AM
To:                Julie Murray; benjamin.wallace2@usdoj.gov; derek.hines@usdoj.gov; leo.wise@usdoj.gov;
                   rjones@bergerharris.com; brian.mcmanus@lw.com; matthew.salerno@lw.com;
                   timothy.mccarten@lw.com
Subject:           Re: USA v. Biden Amicus



Ms. Murray,

On behalf of the defendant we oppose your proposed application for leave to file an amicus brief in the
above‐referenced case, please provide this communication to the Court with any application you file.

As an initial matter, a change of plea proceeding between the Government and a defendant is not an
appropriate proceeding for the intervention of an amicus, and we are aware of no precedent supporting such
an application. We therefore object on this basis.

Furthermore, your communication fails to identify (as is required) the interest the purported amici has in this
proceeding and the reason why an amicus brief is desirable and why the matters asserted are relevant to the
disposition of the case.

Moreover, the proposed relief the purported amicus claims to be seeking is without basis in law or fact and
would only serve to burden the court with baseless argument.

Finally, the application is untimely. The change of plea proceeding has been scheduled for more than one
month. You propose to file an amicus with less than one business day for the parties and the court to review
your submission and respond. Under the circumstances, this delay can only be seen as gamesmanship but in
any event it renders your application untimely.

For the reasons above and reserving all rights, the defendant opposes your proposed application.

Best,

Christopher J. Clark
Clark Smith Villazor LLP
250 West 55th Street
New York, NY 10019
(212) 582‐4400(o)
(646) 763‐3225(m)


From: Julie Murray <julie@murrayphillipslaw.com>
Sent: Saturday, July 22, 2023 9:08 PM
To: benjamin.wallace2@usdoj.gov <benjamin.wallace2@usdoj.gov>; derek.hines@usdoj.gov <derek.hines@usdoj.gov>;
leo.wise@usdoj.gov <leo.wise@usdoj.gov>; Christopher Clark <clark@csvllp.com>; rjones@bergerharris.com
<rjones@bergerharris.com>; brian.mcmanus@lw.com <brian.mcmanus@lw.com>; matthew.salerno@lw.com

                                                        1
                                                     EXHIBIT A
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<matthew.salerno@lw.com>; timothy.mccarten@lw.com <timothy.mccarten@lw.com>
Subject: [EXTERNAL EMAIL] USA v. Biden Amicus

Good Evening Gentlemen:

I have been retained by the Heritage Foundation and Mike Howell to seek leave to file an Amicus Brief in opposition of
the Court accepting the plea agreement at this time in USA v. Biden, Case No. 23‐cr‐00061‐MN.

As you know, I must ask the position of all counsel and include that position in my Motion seeking leave.

Accordingly, I ask that you respond by noon on Monday, July 24, 2023.

Best regards,


Julianne E. Murray, Esq.
Law Offices of Murray, Phillips & Gay
215 E. Market Street
P.O. Box 561
Georgetown, DE 19947
(302) 855‐9300 – phone
(302) 855‐9330 – fax
www.murrayphillipslaw.com


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communication in error, please notify the sender and delete the communication without retaining any copies. Thank
you. No attorney‐client or work product privilege is waived by the transmission of this communication.




                                                             2
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Julie Murray

From:                      Wallace, Benjamin (USADE) <Benjamin.Wallace2@usdoj.gov>
Sent:                      Monday, July 24, 2023 11:36 AM
To:                        Julie Murray; Hines, Derek (USAPAE); Wise, Leo (USAMD); clark@csvllp.com;
                           rjones@bergerharris.com; brian.mcmanus@lw.com; matthew.salerno@lw.com;
                           timothy.mccarten@lw.com
Subject:                   RE: USA v. Biden Amicus


Ms. Murray:

The government consents to your filing of an amicus brief, provided the brief is filed by close of business today, July 24.

Best,

 Benjamin L. Wallace
 Assistant U.S. Attorney
 Email: benjamin.wallace2@usdoj.gov
 Office: 302-573-6118 | Mobile: 302-304-5232
 U.S. Attorney’s Office | District of Delaware
 1313 N. Market Street, Wilmington, DE 19801




From: Julie Murray <julie@murrayphillipslaw.com>
Sent: Saturday, July 22, 2023 9:09 PM
To: Wallace, Benjamin (USADE) <BWallace1@usa.doj.gov>; Hines, Derek (USAPAE) <DHines@usa.doj.gov>; Wise, Leo
(USAMD) <lwise@usa.doj.gov>; clark@csvllp.com; rjones@bergerharris.com; brian.mcmanus@lw.com;
matthew.salerno@lw.com; timothy.mccarten@lw.com
Subject: [EXTERNAL] USA v. Biden Amicus

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the Court accep ng the plea agreement at this me in USA v. Biden, Case No. 23‐cr‐00061‐MN.

As you know, I must ask the posi on of all counsel and include that posi on in my Mo on seeking leave.

Accordingly, I ask that you respond by noon on Monday, July 24, 2023.

Best regards,


Julianne E. Murray, Esq.
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Georgetown, DE 19947
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                                                               1
                                                            EXHIBIT B
